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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA
v.

RICHARD SLAUGHTER, and

CADEN PAUL GOTTFRIED,

Defendants.

CRIMINAL NO.
MAGISTRATE NO. 22-MJ-216

VIOLATIONS:

18 U.S.C. § 2111

(Robbery)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)
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40 U.S.C. § 5104(e)(2)(F)
(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, at or around 3:47 p.m., within the special maritime and
territorial jurisdiction of the United States, RICHARD SLAUGHTER did by force and
violence, and by intimidation, take and attempt to take from the person or presence of another,
that is, an officer from the Metropolitan Police Department, a thing of value, that is, a baton.

(Robbery, in violation of Title 18, United States Code, Section 2111)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, RICHARD SLAUGHTER,
using a deadly and dangerous weapon, that is, a stick-like object, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
and any person assisting such an officer and employee, while such officer or employee was
engaged in or on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 1 11(a)(1) and (b))
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COUNT THREE

On or about January 6, 2021, within the District of Columbia, CADEN PAUL
GOTTFRIED did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, while such person was engaged in and on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the
intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, RICHARD SLAUGHTER
and CADEN PAUL GOTTFRIED committed and attempted to commit an act to obstruct,
impede, and interfere with a law enforcement officer, lawfully engaged in the lawful performance
of his/her official duties incident to and during the commission of a civil disorder which in any
way and degree obstructed, delayed, and adversely affected commerce and the movement of any
article and commodity in commerce and the conduct and performance of any federally protected
function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, RICHARD SLAUGHTER did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice
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President was and would be temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a stick-
like object.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))

COUNT SIX

On or about January 6, 2021, in the District of Columbia, CADEN PAUL GOTTFRIED
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,

United States Code, Section 1752(a)(1))

COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, RICHARD SLAUGHTER did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions, and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a stick-like object.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2)) and (b)(1)(A))
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COUNT EIGHT

On or about January 6, 2021, in the District of Columbia, CADEN PAUL GOTTFRIED
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in

violation of Title 18, United States Code, Section 1752(a)(2))

COUNT NINE

On or about January 6, 2021, in the District of Columbia, RICHARD SLAUGHTER did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a stick-like object.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A))

COUNT TEN

On or about January 6, 2021, in the District of Columbia, CADEN PAUL GOTTFRIED

did knowingly engage in any act of physical violence against any person and property in a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
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within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT ELEVEN
On or about January 6, 2021, in the District of Columbia, RICHARD SLAUGHTER and
CADEN PAUL GOTTFRIED willfully and knowingly engaged in an act of physical violence
within the United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
